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                                         EXHIBIT 2


                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 9:19-cv-81160

   APPLE INC.,

                     Plaintiff,

          v.

   CORELLIUM, LLC,

                     Defendant.


                 DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S
                     FIRST SET OF REQUESTS FOR PRODUCTION

         Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant to

  Federal Rules of Civil Procedure 26 and 34, hereby amends its responses to Plaintiff Apple Inc.’s

  (“Apple”) First Set of Request for Production of Documents.

   Dated: January 17, 2020                       Respectfully submitted,

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                                                 Attorneys for Corellium, LLC

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 17th day of Janaury, 2020, a true and correct copy of the

  foregoing document has been furnished via email to counsel of record identified below.

                                       /s/ Justin Levine
                                      Justin B. Levine

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               CORELLIUM’S AMENDED OBJECTIONS AND RESPONSES
               TO APPLE’S FIRST SET OF REQUESTS FOR PRODUCTION

   REQUEST FOR PRODUCTION NO. 1: Documents sufficient to show the design, structure,
   and operation of the Corellium Apple Product.

         RESPONSE: Corellium objects to this Request to the extent it seeks disclosure of
         proprietary and trade secret information relating to Corellium’s technology or business.
         Including, Corellium’s core technology, which has no direct connection with iOS, uses no
         Apple code, and does not contain any works that Apple is asserting copyrights to in this
         Action, all of which are not proportional to the needs of this case. The product is akin to
         an operating system of a computer, where an application is loaded by the operating system,
         adjusted to interoperate with iOS components, and exposed to the user in this final form.
         Seeking highly proprietary information about Corellium’s core technology, when it has not
         connection to iOS is improper and an abuse of discovery. See Corellium’s Amended
         Answers to Interrogatories Nos. 2 and 3 for relevant operation of the Corellium Apple
         Product.

         Corellium further objects that the Request is overbroad, unduly burdensome, and
         disproportionate to the needs of the case. Specifically, “[d]ocuments sufficient to show the
         design, structure, and operation of the Corellium Apple Product” are not relevant to
         Apple’s claims of direct and contributory infringement as framed in the Complaint, or
         Corellium’s affirmative defenses and counterclaims listed in Corellium’s Answer.

         Furthermore, Corellium objects to this Request to the extent the documents requested are
         protected by attorney-client privilege, the work-product doctrine, or any other available
         privilege under applicable law. Specifically, Apple is prohibited from obtaining
         Corellium’s counsel’s mental impressions or other representative concerning the design,
         structure and operation of the Corellium Apple Product.

         Corellium will produce all relevant, non-privileged documents sufficient to show the
         operation of the Corellium Apple Product.

   REQUEST FOR PRODUCTION NO. 2: Documents sufficient to show how the Corellium
   Apple Product downloads one or more iOS firmware files and loads it onto a Virtual Device.

         RESPONSE: Initially, Corellium objects as the Corellium Apple Product does not
         download iOS. Further, Corellium objects to this Request to the extent it seeks disclosure
         of proprietary and trade secret information relating to Corellium’s technology or business.
         Including, Corellium’s core technology, which has no direct connection with iOS, uses no
         Apple code, and does not contain any works that Apple is asserting copyrights to in this
         Action, all of which are not proportional to the needs of this case. The product is akin to
         an operating system of a computer, where an application is loaded by the operating system,
         adjusted to interoperate with iOS components, and exposed to the user in this final form.
         Seeking highly proprietary information about Corellium’s core technology, when it has not
         connection to iOS is improper and an abuse of discovery. See Corellium’s Amended


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          Answers to Interrogatories No. 3 for relevant information relating to the use of firmware
          in the creation of a new Virtual Device.

          Corellium will produce non-privileged documents sufficient to show how iOS are
          downloaded.

   REQUEST FOR PRODUCTION NO. 3: Documents sufficient to show how the Corellium
   Apple Product creates one or more copies of an iOS firmware file and loads it onto a Virtual
   Device.

          RESPONSE: Corellium objects to this Request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          Including, Corellium’s core technology, which has no direct connection with iOS, uses no
          Apple code, and does not contain any works that Apple is asserting copyrights to in this
          Action, all of which are not proportional to the needs of this case. The product is akin to
          an operating system of a computer, where an application is loaded by the operating system,
          adjusted to interoperate with iOS components, and exposed to the user in this final form.
          Seeking highly proprietary information about Corellium’s core technology, when it has not
          connection to iOS is improper and an abuse of discovery. See Corellium’s Amended
          Answers to Interrogatories No. 3 for relevant information relating to the use of firmware
          in the creation of a new Virtual Device.

          Corellium further objects that the Request is overbroad, unduly burdensome, and
          disproportionate to the needs of the case. This request is not proportional to the needs of
          the case because Corellium does not utilize any of Apple’s code, Corellium downloads
          publicly-accessible firmware archive from external servers, or the user provides the
          firmware file themselves. Moreover, Corellium objects to the extent the request implies
          that Corellium “copies” an iOS file. Corellium does not “copy” any iOS firmware.

          Corellium will produce non-privileged documents sufficient to respond to this Request.

   REQUEST FOR PRODUCTION NO. 4: Documents sufficient to show any modifications the
   Corellium Apple Product makes to a copy of iOS in order to create or modify a Virtual Device.

          RESPONSE: Corellium objects to this Request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          Including, Corellium’s core technology, which has no direct connection with iOS, uses no
          Apple code, and does not contain any works that Apple is asserting copyrights to in this
          Action, all of which are not proportional to the needs of this case. The product is akin to
          an operating system of a computer, where an application is loaded by the operating system,
          adjusted to interoperate with iOS components, and exposed to the user in this final form.
          Seeking highly proprietary information about Corellium’s core technology, when it has not
          connection to iOS is improper and an abuse of discovery. See Corellium’s Amended
          Answers to Interrogatories No. 3 for relevant information relating to the creation of a new
          Virtual Device.

          Corellium will produce non-privileged documents sufficient to respond to this Request.


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   REQUEST FOR PRODUCTION NO. 5: All Documents referring to, describing, evidencing, or
   showing any Security Measures in iOS, iOS Devices, or any other Apple products.

          RESPONSE: Corellium will produce non-privileged documents sufficient to respond to
          this Request.

   REQUEST FOR PRODUCTION NO. 6: All Documents describing, evidencing, showing, or
   referring to the actions performed by Corellium, Corellium’s users or customers, or the Corellium
   Apple Product that bypass, or enable the bypassing of, any Security Measures in iOS and any other
   Apple product.

          RESPONSE: Corellium objects to the characterization of bypassing a Security Measure
          in this request. Specifically, Corellium’s product enables the identification of
          vulnerabilities. See Corellium’s Amended Answers to Interrogatories No. 3 for relevant
          information relating to the creation of a new Virtual Device. The documents requested
          herein are not relevant or proportional to the claims as framed in Apple’s Complaint,
          Corellium’s Answer, Affirmative Defenses or Counterclaim because Corellium does not
          “bypass” or “enables the bypassing” of any Security Measures in iOS or any other Apple
          product.

          Corellium will not produce documents in response to this Request.

   REQUEST FOR PRODUCTION NO. 7: All Documents relating to the functionality and
   design of all hardware used by, or in conjunction with, the Corellium Apple Product, including
   engineering specifications, requirements documents, design documents, interface or product
   specifications, block diagrams, flowcharts, models, installation manuals, user manuals,
   engineering/technical manuals, engineering or design change notices or requests, schematics, and
   register-transfer level (e.g., Verilog or VHDL) Source Code.

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business and
          product. Including, Corellium’s core technology, which has no direct connection with iOS,
          uses no Apple code, and does not contain any works that Apple is asserting copyrights to
          in this Action, all of which are not proportional to the needs of this case. The product is
          akin to an operating system of a computer, where an application is loaded by the operating
          system, adjusted to interoperate with iOS components, and exposed to the user in this final
          form. Seeking highly proprietary information about Corellium’s core technology, when it
          has not connection to iOS is improper and an abuse of discovery.

          Corellium further objects that the Request is overbroad, unduly burdensome, and
          disproportionate to the needs of the case. Specifically, the “functionality of all hardware”
          are not relevant to Apple’s claims of direct and contributory infringement as framed in the
          Complaint, or Corellium’s affirmative defenses and counterclaims listed in Corellium’s
          Answer. Moreover, this request is overbroad and unduly burdensome because its response
          will encompass a large amount of specifications relating to the functionality and design of
          hardware used in conjunction with the Corellium Apple Product, including documents
          relating to the development of the Corellium Apple Product.

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          Corellium will produce non-privileged documents relating to the functionality of hardware
          used in conjunction with the Corellium Apple Product.

   REQUEST FOR PRODUCTION NO. 8: All Documents relating to the functionality and design
   of all software developed by Corellium or used in the Corellium Apple Product, including
   engineering specifications, requirements documents, design documents, interface or product
   specifications, block diagrams, flowcharts, models, installation manuals, user manuals,
   engineering/technical manuals, engineering or design change notices or requests, schematics, and
   Source Code.

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          Including, Corellium’s core technology, which has no direct connection with iOS, uses no
          Apple code, and does not contain any works that Apple is asserting copyrights to in this
          Action, all of which are not proportional to the needs of this case. The product is akin to
          an operating system of a computer, where an application is loaded by the operating system,
          adjusted to interoperate with iOS components, and exposed to the user in this final form.
          Seeking highly proprietary information about Corellium’s core technology, when it has not
          connection to iOS is improper and an abuse of discovery.

          Moreover, this request is overbroad and not proportional to the needs of this case as it
          plainly encompasses all of Corellium’s software and/or products, which is outside the
          scope of the allegation alleged in Apple’s Complaint.

          Corellium will produce non-privileged documents relating to the functionality of software
          used in conjunction with the Corellium Apple Product.

   REQUEST FOR PRODUCTION NO. 9: All Documents relating to the functionality and design
   of all firmware developed by Corellium or used in the Corellium Apple Product, including
   engineering specifications, requirements documents, design documents, interface or product
   specifications, block diagrams, flowcharts, models, installation manuals, user manuals,
   engineering/technical manuals, engineering or design change notices or requests, schematics, and
   Source Code.

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business and
          product. Including, Corellium’s core technology, which has no direct connection with iOS,
          uses no Apple code, and does not contain any works that Apple is asserting copyrights to
          in this Action, all of which are not proportional to the needs of this case. The product is
          akin to an operating system of a computer, where an application is loaded by the operating
          system, adjusted to interoperate with iOS components, and exposed to the user in this final
          form. Seeking highly proprietary information about Corellium’s core technology, when it
          has not connection to iOS is improper and an abuse of discovery. See Corellium’s
          Amended Answers to Interrogatories No. 3 for relevant information relating to the use of
          firmware in the creation of a new Virtual Device.




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          Moreover, this request is overbroad and not proportional to the needs of this case as it
          plainly encompasses all of Corellium’s software and/or products, which is outside the
          scope of the allegation alleged in Apple’s Complaint.

          Corellium will produce non-privileged documents relating to the functionality of firmware
          used with the Corellium Apple Product.

   REQUEST FOR PRODUCTION NO. 10: All Documents relating to the design and
   development of the Corellium Apple Product, including but not limited to notebooks, sketches,
   notes, performance and design specifications, schematics, tests, simulations, analyses, prototypes,
   manuals, and narrative descriptions.

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          Including, Corellium’s core technology, which has no direct connection with iOS, uses no
          Apple code, and does not contain any works that Apple is asserting copyrights to in this
          Action, all of which are not proportional to the needs of this case. The product is akin to
          an operating system of a computer, where an application is loaded by the operating system,
          adjusted to interoperate with iOS components, and exposed to the user in this final form.
          Seeking highly proprietary information about Corellium’s core technology, when it has not
          connection to iOS is improper and an abuse of discovery. Apple does not receive an open
          blanket of information relating to the development of the Corellium Apple Product simply
          because it filed the instant lawsuit. See Corellium’s Amended Answers to Interrogatories
          No. 4 for relevant information relating to the development of the Corellium Apple Product.

          Corellium further objects that the Request is overbroad, unduly burdensome, and
          disproportionate to the needs of the case. Further, “documents relating to the design and
          development of the Corellium Apple Product” are not relevant to the instant case because
          the “design and development” are not relevant to Apple’s claims of direct and contributory
          infringement as framed in the Complaint, or Corellium’s affirmative defenses and
          counterclaims listed in in Corellium’s Answer.

          Corellium will not produce documents in response to this Request.

   REQUEST FOR PRODUCTION NO. 11: All Documents relating to the architecture and
   structure of the Corellium Apple Product, including but not limited to network diagrams, sketches,
   notes, performance and design specifications, schematics, tests, simulations, analyses, prototypes,
   manuals, and narrative descriptions.

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          Documents relating to the architecture and structure of the Corellium Apple Product are
          proprietary and trade secrets because these documents are part of proprietary and
          confidential research, development and commercial information of Corellium. Moreover,
          Corellium’s core technology, which has no direct connection with iOS, uses no Apple code,
          and does not contain any works that Apple is asserting copyrights to in this Action, all of
          which are not proportional to the needs of this case. The product is akin to an operating

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          system of a computer, where an application is loaded by the operating system, adjusted to
          interoperate with iOS components, and exposed to the user in this final form. Seeking
          highly proprietary information about Corellium’s core technology, when it has not
          connection to iOS is improper and an abuse of discovery.

          Corellium will not produce documents in response to this Request.

   REQUEST FOR PRODUCTION NO. 12: All Documents comprising or relating to any testing
   or analysis of the Corellium Apple Product or any associated hardware at any stage (including
   development, production, and post- production).

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          Corellium analyses of the Corellium Apple Product are part of proprietary research and
          development of Corellium. Moreover, Corellium’s core technology, which has no direct
          connection with iOS, uses no Apple code, and does not contain any works that Apple is
          asserting copyrights to in this Action, all of which are not proportional to the needs of this
          case. The product is akin to an operating system of a computer, where an application is
          loaded by the operating system, adjusted to interoperate with iOS components, and exposed
          to the user in this final form. Seeking highly proprietary information about Corellium’s
          core technology, when it has not connection to iOS is improper and an abuse of discovery.

          Corellium further objects that the Request is overbroad, unduly burdensome, and
          disproportionate to the needs of the case. Documents relating to analysis of the Corellium
          Apple Product are not relevant to this case because they are not tailored to any of Apple’s
          claims of direct and contributory infringement as framed in the Complaint, or Corellium’s
          affirmative defenses and counterclaims listed in in Corellium’s Answer

          Corellium will not produce documents in response to this Request.

   REQUEST FOR PRODUCTION NO. 13: All Documents related to any third-party testing,
   analysis, performance, examination, assessment, and/or evaluation of the Corellium Apple Product
   or any associated hardware.

          RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
          proprietary and trade secret information relating to Corellium’s technology or business.
          These documents are business trade secrets and may be subject to confidentiality
          agreements with such third parties. Furthermore, Corellium’s core technology, which has
          no direct connection with iOS, uses no Apple code, and does not contain any works that
          Apple is asserting copyrights to in this Action, all of which are not proportional to the needs
          of this case. The product is akin to an operating system of a computer, where an application
          is loaded by the operating system, adjusted to interoperate with iOS components, and
          exposed to the user in this final form. Seeking highly proprietary information about
          Corellium’s core technology, when it has not connection to iOS is improper and an abuse
          of discovery.

          Corellium further objects that the Request is overbroad, unduly burdensome, and
          disproportionate to the needs of the case. Documents “related to any third-party testing,
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           analysis, performance, examination, assessment, and/or evaluation of the Corellium Apple
           Product or any associated hardware” are not relevant to any of Apple’s claims of direct and
           contributory infringement as framed in the Complaint, or Corellium’s affirmative defenses
           and counterclaims listed in in Corellium’s Answer. Any third-party testing or analysis of
           the Corellium Apple Product is wildly overbroad as the testing requested herein may have
           been completed by third-parties without the knowledge of Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 14: All Documents relating to or referring to design or
    performance specification for the Corellium Apple Product requested or required by Corellium,
    Corellium’s customers, or Corellium’s potential customers.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery.

           Corellium further objects to this request on the basis that it seeks information that is not
           relevant to any party’s claim or defense nor proportional to the needs of the case.
           Specifically, the documents requested herein are not relevant or proportional to proving
           Apple’s “straightforward case” of copyright infringement. See Complaint ¶ 1 [D.E. 1].
           Such a request is overbroad and not narrowly tailored to the facts and circumstances
           allegedly giving rise to Apple’s lawsuit against Corellium. Documents relating to requests
           made by Corellium’s customers or potential customers have no relevancy to the claims
           brought by Apple as framed in the Complaint.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 15: Documents sufficient to                       show    the   system
    architecture of all private installations of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery. See Corellium’s Amended
           Answers to Interrogatories No. 9 for relevant customer data.

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           Corellium further objects that the Request is overbroad, unduly burdensome, and
           disproportionate to the needs of the case. Documents related to “the system architecture of
           all private installations of the Corellium Apple Product” are not relevant to the claims
           brought by Apple as raised in the Complaint, or Corellium’s affirmative defenses and
           counterclaims listed in in Corellium’s Answer. Particularly, because Apple does not need
           each and every system architecture of private installations of the Corellium Apple Product
           to prove any of its claims or damages.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 16: Documents sufficient to                       show    the   system
    architecture of any cloud-based version of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery. See Corellium’s Amended
           Answers to Interrogatories No. 9 for relevant customer data.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 17: Documents sufficient to Identify each Corellium
    Apple Product, including all internal and external product names used by Corellium or its
    employees to refer to the Corellium Apple Product, or any components thereof, including as used
    in communications with Corellium’s customers or potential customers.

           RESPONSE: Corellium will produce non-privileged documents responsive to this
           Request.

    REQUEST FOR PRODUCTION NO. 18: All user manuals, user guides, instruction manuals,
    installation manuals, operation manuals, training manuals, frequently asked questions, summaries,
    or other documentation directed to users or customers of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery.


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           Moreover, Corellium objects to this request to the extent it is overbroad in scope and not
           proportional to the needs of the case. Corellium further objects to this request on the basis
           that it seeks information that is not relevant to any party’s claim or defense nor proportional
           to the needs of the case. Specifically, the documents requested herein are not relevant or
           proportional to proving Apple’s “straightforward case” of copyright infringement. See
           Complaint ¶ 1 [D.E. 1]. Such a request is overbroad and not narrowly tailored to the facts
           and circumstances of this case.

           Corellium will produce non-privileged responsive documents relating to user guides
           provided to customers of the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 19: All Documents relating to any training or instruction
    in the use of the Corellium Apple Product, whether internal or external, including but not limited
    to user guides, user manuals, setup guides, troubleshooting references, frequently asked questions,
    and sales guides.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Corellium’s “training or instruction in the use of the Corellium Apple Product” contain
           proprietary and trade secret information relating to Corellium’s development and use of its
           technology generally.

           Corellium further objects that the Request is overbroad, unduly burdensome, and
           disproportionate to the needs of the case. Documents relating to “training or instruction”
           that are available internally or externally are not narrowly tailored to the needs of this case.
           As in these documents are not relevant to the claims brought by Apple as raised in the
           Complaint, or Corellium’s affirmative defenses and counterclaims listed in in Corellium’s
           Answer. Specifically, because any training or instruction in the use of the Corellium Apple
           Product has nothing to do with the alleged copyright infringement claim brought by Apple.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 20: All Documents and Communications relating to
    Your obtaining any of Apple’s products, including but not limited to Your acquisition of one or
    more dev-fused iPhones.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope and
           not proportional to the needs of the case. Corellium further objects to this request on the
           basis that it seeks information that is not relevant to any party’s claim or defense nor
           proportional to the needs of the case. Specifically, the documents requested herein are not
           relevant or proportional to proving Apple’s “straightforward case” of copyright
           infringement. See Complaint ¶ 1 [D.E. 1].

           Corellium will produce non-privileged responsive documents relating to obtaining Apple’s
           products.




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    REQUEST FOR PRODUCTION NO. 21: All Documents and Communications relating to
    Your use, study, evaluation, or analysis of any Apple products, including but not limited to dev-
    fused iPhones.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope and
           not proportional to the needs of the case. Corellium further objects to this request on the
           basis that it seeks information that is not relevant to any party’s claim or defense nor
           proportional to the needs of the case. Specifically, the documents requested herein are not
           relevant or proportional to proving Apple’s “straightforward case” of copyright
           infringement. See Complaint ¶ 1 [D.E. 1]. Corellium’s study, evaluation or analysis of
           Apple’s Products have no relevancy to the copyright claims brought by Apple. Instead,
           Apple is seeking this information for free despite the facts that it has no connected to the
           lawsuit. Additionally, this request for production is yet another example of Apply using
           the legal system to restrain trade or otherwise suppress or harm competitive industry.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 22: All Documents related to Your extracting
    information from, reverse engineering, deconstructing, or in any way determining, or attempting
    to extract information from, reverse engineer, deconstruct, or in any way determine, the
    functionality of any materials or products that originated from or were supplied by Apple, including
    but not limited to developer’s notes and other documents developed in the reverse engineering of
    iOS Devices.




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           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery.

           Moreover, Corellium objects to this request to the extent it is overbroad in scope and not
           proportional to the needs of the case. These documents are not relevant to Apple’s claims
           of direct and contributory infringement as framed in the Complaint, or Corellium’s
           affirmative defenses and counterclaims listed in in Corellium’s Answer. Developer’s notes
           relating to the process of reverse engineering are not relevant to Corellium’s reverse
           engineering affirmative defense as other documents can show the functionality and process
           of reverse engineering. Additionally, the “functionality of any materials or products” that
           were supplied by Apple are not at issue in this lawsuit. Apple, through the lawsuit, is
           restraining trade by requesting information that has no connection to copyright
           infringement, and, instead attempts to broaden the scope to every single Apple product ever
           supplied to Corellium, which is not the cause of this lawsuit.

           Corellium will produce non-privileged responsive documents relating to the functionality
           and process of reverse engineering.

    REQUEST FOR PRODUCTION NO. 23: All Documents related to Your altering, modifying,
    or otherwise creating any derivative works as a result of reverse engineering Apple products.




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           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery. Apple does not receive an open
           blanket of information relating to the development of the Corellium Apple Product simply
           because it filed the instant lawsuit.

           Moreover, Corellium objects to this request to the extent it is overbroad in scope and not
           proportional to the needs of the case. These documents are not relevant to Apple’s claims
           of direct and contributory infringement as framed in the Complaint, or Corellium’s
           affirmative defenses and counterclaims listed in in Corellium’s Answer. Documents related
           to the creation of derivate works have no connection to the instant lawsuit and its
           production does not apply to any element of copyright infringement.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 24: All Documents referring to, relating to, or
    constituting any license, agreement, contract, or covenant (whether written or oral) to which You
    are a part that covers or otherwise relates to the Corellium Apple Product or any feature,
    technology, component, or part thereof, or any technology in the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Including, Corellium’s core technology, which has no direct connection with iOS, uses no
           Apple code, and does not contain any works that Apple is asserting copyrights to in this
           Action, all of which are not proportional to the needs of this case. The product is akin to
           an operating system of a computer, where an application is loaded by the operating system,
           adjusted to interoperate with iOS components, and exposed to the user in this final form.
           Seeking highly proprietary information about Corellium’s core technology, when it has not
           connection to iOS is improper and an abuse of discovery.

           Moreover, Corellium further objects to this request on the basis that it seeks information
           that is not relevant to any party’s claim or defense nor proportional to the needs of the case.
           Specifically, the documents requested herein are not relevant or proportional to proving
           Apple’s “straightforward case” of copyright infringement. See Complaint ¶ 1 [D.E. 1].
           Requesting “all documents” that relate to, or constitute any license between Corellium and
           any other party without any specificity will lead to a large number of licenses between
           Corellium and its’ customers, or other agreements with third-parties that have no
           connection to this lawsuit.

           Corellium will produce non-privileged documents responsive to this Request.


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    REQUEST FOR PRODUCTION NO. 25: All Documents referring to, relating to, or
    constituting any compensation (e.g., running royalties, lump sum payments, stock, equity) received
    or paid under any license, agreement, contract or covenant to which You are a part that covers or
    otherwise relates to the Corellium Apple Product or any feature, technology, component, or part
    thereof.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information relating to Corellium’s technology or business.
           Corellium has provided its revenue and net income for the years of 2017-2019.
           Additionally, Corellium has provided a list of its customers and the prices the customers
           paid for Corellium’s services and technology. See Corellium’s Amended Answers to
           Interrogatories Nos. 9 and 10 for relevant net income and revenue, and prices paid by
           Corellium’s customers.

           Corellium further objects to this request on the basis that it seeks information that is not
           relevant to any party’s claim or defense nor proportional to the needs of the case.
           Specifically, the documents requested herein are not relevant or proportional to proving
           Apple’s “straightforward case” of copyright infringement. See Complaint ¶ 1 [D.E. 1].
           These documents are not relevant to Apple’s claims of direct and contributory infringement
           as framed in the Complaint, or Corellium’s affirmative defenses and counterclaims listed
           in in Corellium’s Answer.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 26: All Documents constituting, referring to, or relating
    to licenses, sale rights, or use rights granted by Corellium to any Person which refer or relate to the
    Corellium Apple Product.

           RESPONSE: Corellium will produce non-privileged documents responsive to this
           Request

    REQUEST FOR PRODUCTION NO. 27: All Documents constituting, containing, or relating
    to agreements by or on behalf of any Person, to indemnify or hold harmless for liability arising out
    of claims or accusations of copyright infringement.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, and not proportional to the needs of the case. Specifically, this
           request seeks information unrelated to the “straightforward” allegations in the Complaint.
           Such a broad request is not narrowly tailored to the issues in this case and as such is not
           proportional to the needs of this case.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 28: All Documents constituting, containing, or relating
    to any insurance policies under which an insurance business may be liable to satisfy all or part of
    any judgment in this Action or to indemnify or reimburse for payments made to satisfy the
    judgment in this Action, including but not limited to Corellium’s agreement with First Community
    Insurance Company, Business Owners Policy, Policy No. 09 0005813592 6 00.

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           RESPONSE: Corellium will produce non-privileged documents responsive to this
           Request.

    REQUEST FOR PRODUCTION NO. 29: All Documents referring or relating to any request
    for, or negotiation of, an indemnification for copyright infringement.

           RESPONSE: Corellium will produce non-privileged documents responsive to this
           Request.

    REQUEST FOR PRODUCTION NO. 30: All Documents constituting, containing, referring to,
    or relating to any policies, practices, guidelines, or procedures relating to licensing any of Your
    intellectual property rights.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, and not proportional to the needs of the case. Specifically, this
           request seeks information related to aspects of Corellium’s business that are unrelated to
           Apple’s “straightforward case” of copyright infringement. See Complaint ¶ 1 [D.E. 1].
           Such a broad request is not narrowly tailored to the issues in this case and as such is not
           proportional to the needs of this case. Corellium’s core business practices are confidential
           and not related to the issues as addressed in the Complaint, further documents relating to
           “any policies” do not provide any damages that Apple alleges.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 31: All Documents constituting, containing, referring to,
    or relating to any policies, practices, guidelines, or procedures relating to licensing other parties’
    intellectual property rights, responding to third party licensing offers, or responding to notices of
    infringement.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, and not proportional to the needs of the case. Specifically, this
           request seeks information related to aspects of Corellium’s business that are unrelated to
           Apple’s “straightforward case” of copyright infringement. See Complaint ¶ 1 [D.E. 1].
           Such a broad request is not narrowly tailored to the issues in this case and as such is not
           proportional to the needs of this case. Additionally, “policies, practices, guidelines, or
           procedures relating to licensing other parties’ intellectual property rights” are not relevant
           to Apple’s claims as framed in the Complaint.

           Moreover, Corellium objects to this request to the extent it seeks disclosure of proprietary
           and trade secret information of Corellium. Documents relating to “policies, practices,
           guidelines, or procedures” are proprietary and trade secrets because they are related to the
           development, function and business operation of Corellium.

           Corellium will produce non-privileged responsive documents relating to responding to
           notices of infringement.

    REQUEST FOR PRODUCTION NO. 32: All Documents relating to any intellectual property
    in which Corellium has rights.

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           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, harassing and not proportional to the needs of the case. Specifically,
           this request seeks information related to Corellium’s business and all of its intellectual
           property which is entirely unrelated to the allegations in the Complaint by Apple. Apple’s
           request is akin to a fishing expedition into Corellium’s entire business; such a broad request
           is not narrowly tailored to the issues in this case and as such is not proportional to the needs
           of this case. Here, Corellium’s intellectual property are neither necessary to show damages
           nor whether infringement or a violation of the DMCA has occurred.

           Moreover, Corellium objects to this request to the extent it seeks disclosure of proprietary
           and/or trade secret information of Corellium. Documents relating to any intellectual
           property in which Corellium has rights are proprietary and trade secrets as to the
           functioning, operation of Corellium, Corellium’s business practices, and Corellium’s core
           technology.

           Corellium will produce non-privileged responsive documents relating to intellectual
           property in which Corellium has rights pertaining to Corellium’s Apple Product.

    REQUEST FOR PRODUCTION NO. 33: Documents sufficient to identify all customers of the
    Corellium Apple Product.

           RESPONSE: Corellium will produce non-privileged documents responsive to this
           Request.

    REQUEST FOR PRODUCTION NO. 34: All Communications between Corellium and
    customers, potential customers, or users of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, harassing and not proportional to the needs of the case. Specifically,
           this request seeks information related to Corellium’s business and communications with
           third parties which is unrelated to the allegations in the Complaint and Corellium’s Answer.

           Moreover, Corellium objects to this request to the extent it seeks disclosure of proprietary
           and trade secret information of Corellium. In particular, this request seeks documents that
           contain highly-confidential, proprietary information such as data of customers and
           communications with the customers, which are not within the scope of any claims asserted
           in this lawsuit. See Corellium’s Amended Answers to Interrogatories No. 9 for relevant
           customer data. Apple’s request is akin to a fishing expedition into Corellium’s entire
           business; such a broad request is not narrowly tailored to the issues in this case and as such
           is not proportional to the needs of this case.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 35: All Communications with customers, potential
    customers, or third parties regarding private installations of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, harassing and not proportional to the needs of the case. Specifically,

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           this request seeks information related to Corellium’s business and communications with
           third parties which is unrelated to the allegations in the Complaint and Corellium’s Answer.
           Such communications are not necessary to show damages nor whether infringement or a
           violation of the DMCA has occurred.

           Moreover, Corellium objects to this request to the extent it seeks disclosure of proprietary
           and trade secret information of Corellium. In particular, this request seeks documents that
           contain highly-confidential, proprietary information such as communications with
           customers, which are not within the scope of any claims asserted in this lawsuit. Corellium
           has already provided Apple a list of customers that received private installation of the
           Corellium Apple Product. See Corellium’s Amended Answers to Interrogatories No. 9 for
           relevant customer data. Apple’s request is akin to a fishing expedition into Corellium’s
           entire business; such a broad request is not narrowly tailored to the issues in this case and
           as such is not proportional to the needs of this case.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 36: Documents sufficient to show the locations of all
    private installations of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           immaterial, irrelevant, harassing and not proportional to the needs of the case. Specifically,
           this request seeks information related to Corellium’s business and communications with
           third parties which is unrelated to the allegations in the Complaint and Apple. Moreover,
           Corellium objects to this request to the extent it seeks disclosure of proprietary and trade
           secret information of Corellium. In particular, this request seeks documents that contain
           highly-confidential, proprietary information such as communications with customers,
           which are not within the scope of any claims asserted in this lawsuit. Corellium has already
           provided Apple a list of customers that received private installation of the Corellium Apple
           Product, including their addresses. See Corellium’s Amended Answers to Interrogatories
           No. 9 for relevant customer data. Apple’s request is akin to a fishing expedition into
           Corellium’s entire business; such a broad request is not narrowly tailored to the issues in
           this case and as such is not proportional to the needs of this case.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 37: All Communications with customers, potential
    customers, or third parties regarding any cloud-based version of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           harassing and not proportional to the needs of the case. Specifically, this request seeks
           information and communications between Corellium and its customers which is overbroad
           and not proportional to the needs of this case. Indeed, the allegations in this lawsuit concern
           copyright infringement not Corellium’s communications with its customers. The request is
           so extraordinarily overbroad and burdensome it appears designed solely to harass and
           needlessly increase the cost of this litigation. Given the complete lack of relevance of the
           documents requested, the attempt to impose any burden on the Corellium to produce these

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           requested documents is not “proportional to the needs of the case considering . . . the
           importance of the discovery in resolving the issues, and whether the burden or expense of
           the proposed discovery outweighs its likely benefit.” Moreover, this request seeks
           documents that contain highly-confidential, proprietary information such as
           communications with customers, which are not within the scope of any claims asserted in
           this lawsuit. Corellium has already provided Apple a list of customers regarding any clod-
           based version of the Corellium Apple Product. See Corellium’s Amended Answers to
           Interrogatories No. 9 for relevant customer data

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 38: All Communications between Corellium and any
    Foreign government entity, or any agent thereof, regarding the Corellium Apple Product or iOS
    virtualization technology.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           harassing and not proportional to the needs of the case. Specifically, this request seeks
           information and communications between Corellium and its customers which is overbroad
           and not proportional to the needs of this case. Indeed, the allegations in this lawsuit concern
           copyright infringement not Corellium’s communications with its customers. The request is
           so extraordinarily overbroad and burdensome it appears designed solely to harass and
           needlessly increase the cost of this litigation. Given the complete lack of relevance of the
           documents requested, the attempt to impose any burden on the Corellium to produce these
           requested documents is not “proportional to the needs of the case considering . . . the
           importance of the discovery in resolving the issues, and whether the burden or expense of
           the proposed discovery outweighs its likely benefit.”

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 39: All Communications between Corellium and any
    Foreign Person, or any agent thereof, regarding the Corellium Apple Product or iOS virtualization
    technology.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           harassing and not proportional to the needs of the case. Specifically, this request seeks
           information and communications between Corellium and its customers which is overbroad
           and not proportional to the needs of this case. Indeed, the allegations in this lawsuit concern
           copyright infringement not Corellium’s communications with its customers. The request is
           so extraordinarily overbroad and burdensome it appears designed solely to harass and
           needlessly increase the cost of this litigation. Given the complete lack of relevance of the
           documents requested, the attempt to impose any burden on the Corellium to produce these
           requested documents is not “proportional to the needs of the case considering . . . the
           importance of the discovery in resolving the issues, and whether the burden or expense of
           the proposed discovery outweighs its likely benefit.” Corellium’s communications with a
           “foreign person” are not relevant to any of the claims raised in the Complaint or in
           Corellium’s Answer or Counterclaim. To add, Corellium has already provided Apple with


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           a list of customers, including, foreign customers data. See Corellium’s Amended Answers
           to Interrogatories No. 9 for relevant customer data

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 40: All Communications between Corellium and
    Azimuth Security, or any agent thereof, regarding the Corellium Apple Product or iOS
    virtualization technology.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           harassing and not proportional to the needs of the case. Specifically, this request seeks “all”
           information and communications between Corellium and one of its customers, which is
           overbroad on its face and not proportional to the needs of this case. Communications
           between Corellium and its’ customers are not relevant to Apple’s claims as raised in the
           Complaint or Corellium’s Answer or Counterclaim. Additionally, these communications
           are not necessary to show infringement or damages.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 41: All Documents constituting, containing, or relating
    to agreements between Corellium and Azimuth Security.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in scope,
           harassing and not proportional to the needs of the case. Specifically, this request seeks “all”
           materials “relating to agreements” between Corellium and one of its customers, which is
           overbroad and not proportional to the needs of this case. Moreover, Corellium objects to
           this request to the extent it seeks disclosure of proprietary and trade secret information of
           Corellium. In particular, this request seeks documents that contain highly-confidential,
           proprietary information such as communications with customers, which are not within the
           scope of any claims asserted in this lawsuit. Corellium has already provided Apple a list of
           customers, including Azimuth Security. See Corellium’s Amended Answers to
           Interrogatories No. 9 for relevant customer data.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 42: Documents sufficient to show the countries to which
    Corellium has made sales or anticipates making sales of the Corellium Apple Product or licenses
    thereof.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information of Corellium. Corellium’s business strategy,
           including where and its projections and forecast of sales it anticipates are quintessential
           trade secret materials. In particular, this request seeks documents that contain highly-
           confidential, proprietary information such as communications with customers, which are
           not within the scope of any claims asserted in this lawsuit. Corellium has already provided
           Apple a list of customers. See Corellium’s Amended Answers to Interrogatories No. 9 for
           relevant customer data.


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           Corellium also objects to this request to the extent it is overbroad in scope, immaterial,
           irrelevant, harassing and not proportional to the needs of the case. Specifically, this request
           seeks information related to Corellium’s business and contracts with third parties which is
           unrelated to the allegations in the Complaint and Apple. Furthermore, identification of
           where Corellium’s has made sales or anticipates making sales to customers does not go to
           establishing any element of Apple’s claims against Corellium. Apple’s request is akin to a
           fishing expedition into Corellium’s entire business; such a broad request is not narrowly
           tailored to the issues in this case and as such is not proportional to the needs of this case.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 43: All Documents referring or relating to sales of the
    Corellium Apple Product to customers.

           RESPONSE: Corellium objects to this request to the extent it seeks disclosure of
           proprietary and trade secret information of Corellium. In particular, this request seeks
           documents that contain highly-confidential, proprietary information such as
           communications with customers, which are not within the scope of any claims asserted in
           this lawsuit. Corellium has already provided Apple a list of customers that received private
           installation of the Corellium Apple Product. See Corellium’s Amended Answers to
           Interrogatories No. 9 for relevant customer data. Corellium objects to this request to the
           extent it is overbroad in scope and not proportional to the needs of the case. Specifically,
           “documents referring or relating to sales of the Corellium Apple Product to customers” are
           not relevant to the claims raised by Apple in its Complaint or Corellium’s Answer or
           Counterclaim.

           Corellium will produce non-privileged responsive documents relating to sales of the
           Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 44: Documents sufficient to identify, for each customer
    of the Corellium Apple Product, the product or license sold, the date of sale, the amount of sale,
    and the number of units sold.

           RESPONSE: Corellium will produce non-privileged responsive documents to this
           Request.

    REQUEST FOR PRODUCTION NO. 45: Documents sufficient to show the number of sales of
    the Corellium Apple Product since the formation of Corellium on a quarterly, or more frequent,
    basis.

           RESPONSE: Corellium has produced documents sufficient to show the number of sales
           of the Corellium Apple Product since the formation of Corellium on a quarterly, or more
           frequent, basis. Please see Corellium’s Response to Apple’s First Set of Interrogatories,
           Interrogatory No. 9.

    REQUEST FOR PRODUCTION NO. 46: Documents sufficient to show the price of each sale
    of the Corellium Apple Product since the formation of Corellium on a quarterly, or more frequent,
    basis.

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           RESPONSE: Corellium has produced documents sufficient to show the price of each sale
           of the Corellium Apple Product since the formation of Corellium on a quarterly, or more
           frequent, basis. Please see Corellium’s Response to Apple’s First Set of Interrogatories,
           Interrogatory No. 9.

    REQUEST FOR PRODUCTION NO. 47: Documents sufficient to show the number of sales
    of licenses to the Corellium Apple Product since the formation of Corellium on a quarterly, or
    more frequent, basis.

           RESPONSE: Corellium has produced documents sufficient to show the number of sales
           of licenses to the Corellium Apple Product since the formation of Corellium on a quarterly,
           or more frequent, basis. Please see Corellium’s Response to Apple’s First Set of
           Interrogatories, Interrogatory No. 9.

    REQUEST FOR PRODUCTION NO. 48: Documents sufficient to show the price of each sale
    for each license to the Corellium Apple Product since the formation of Corellium on a quarterly,
    or more frequent, basis.

           RESPONSE: Corellium has produced documents sufficient to show the price of each sale
           for each license to the Corellium Apple Product since the formation of Corellium on a
           quarterly, or more frequent, basis. Please see Corellium’s Response to Apple’s First Set of
           Interrogatories, Interrogatory No. 9.

    REQUEST FOR PRODUCTION NO. 49: Documents sufficient to show Corellium’s gross
    revenues, total licenses or copies sold, average billed sales price, total costs of goods sold, average
    costs of goods sold, total gross profit margin, total net profit margins, variable and fixed costs, and
    allocated costs since the formation of Corellium on a quarterly or more frequent basis.

           RESPONSE: Corellium has produced documents sufficient to show Corellium’s gross
           revenues, total licenses or copies sold, and average billed sales. Please see Corellium’s
           Response to Apple’s First Set of Interrogatories, Interrogatory No. 9. Corellium will
           produce non-privileged, responsive documents sufficient to show Corellium’s total costs
           of goods sold, average costs of goods sold, total gross profit margin, total net profit margins,
           variable and fixed costs, and allocated costs since the formation of Corellium on a quarterly
           or more frequent basis.

    REQUEST FOR PRODUCTION NO. 50: Documents sufficient to show the amount of money
    Corellium has spent on research and development of the Corellium Apple Product.

           RESPONSE: Corellium objects to this request as it seeks production of confidential and
           proprietary information as well as trade secrets beyond the scope of this litigation. In
           particular, this request seeks documents that contain highly-confidential, proprietary
           information such as research and development of Corellium’s core technology, which has
           no direct connection with iOS, uses no Apple code, and does not contain any works that
           Apple is asserting copyrights to in this Action, all of which are not within the scope of any
           claims asserted in this lawsuit. The product is akin to an operating system of a computer,
           where an application is loaded by the operating system, adjusted to interoperate with OS
           components, and exposed to the user in this final form. Seeking highly proprietary
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           information about Corellium’s core technology, when it has not connection to iOS is
           improper and an abuse of discovery. Furthermore, the request is overbroad as it is not
           tailored to a particular component or function, but instead, seeks documents generally.
           Apple’s failure to tailor the request places a tremendous burden on Corellium to identify
           potentially responsive documents relative to the extremely broad category of “research and
           development.” Accordingly, it is improper for Apple to seek blanket document production
           of such confidential information.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 51: Documents sufficient to show Corellium’s pricing
    policies, approaches, and/or strategies for the Corellium Apple Product from the formation of
    Corellium to present.

           RESPONSE: Corellium objects to this request as it is overbroad in both time and scope
           with respect to any claims asserted in this lawsuit. In particular, this request seeks
           documents that contain highly-confidential, proprietary information such as financial data
           of customers and Corellium’s financial projects, which are not within the scope of any
           claims asserted in this lawsuit. See Corellium’s Amended Answers to Interrogatories Nos.
           9 and 10 for relevant financial data as well as customer data. Moreover, this request seeks
           documents relating to Corellium’s pricing policies, approaches, and strategies with no
           attempt to tailor the request to any particular time period or client. It is improper for Apple
           to simply seek a wholesale data production relative to such confidential information. The
           request is not tailored to a particular client (or more) identifying how such information
           from that particular client is relevant to this matter. As such, the request places a
           tremendous burden on Corellium to identify responsive documents relative to the
           extremely broad category of pricing. For the same reasons, Corellium also objects to this
           request in that it is intended to annoy or harass Corellium and its officers, employees,
           agents, representatives, and other persons acting, or purporting to act on behalf of
           Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 52: All documents comprising or relating to Corellium’s
    business plans, strategic plans, development and sales plans, and forecasts from the formation of
    Corellium to present.

           RESPONSE: Corellium objects to this request as it is overbroad in both time and scope
           with respect to any claims asserted in this lawsuit. In particular, this request seeks
           documents that contain highly-confidential, proprietary information such as financial data
           of customers and Corellium’s financial projects, which are not within the scope of any
           claims asserted in this lawsuit. See Corellium’s Amended Answers to Interrogatories Nos.
           9 and 10 for relevant financial data as well as customer data. Moreover, this request seeks
           documents relating to Corellium’s business and sales plans with no attempt to tailor the
           request to any particular time period or client. It is improper for Apple to simply seek a
           wholesale data production relative to such confidential information. The request is not
           tailored to a particular client (or more) identifying how such information from that

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           particular client is relevant to this matter. As such, the request places a tremendous burden
           on Corellium to identify potentially responsive documents relative to the extremely broad
           category of Corellium’s business and sales plans. For the same reasons, Corellium also
           objects to this request in that it is intended to annoy or harass Corellium and its officers,
           employees, agents, representatives, and other persons acting, or purporting to act on behalf
           of Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 53: All Documents relating to revenues, market share,
    market forecasts, sales projections, financial projections, or profit/loss margins (actual or
    anticipated).

           RESPONSE: Corellium objects to this request as it is harassing, immaterial, irrelevant,
           and not proportional to the needs of this case. Specifically, Apple is not entitled to go a
           fishing expedition into every aspect of Corellium’s business by virtue of its lawsuit.
           Indeed, documents reflecting Corellium’s business strategy meetings, conferences, and
           determinations are quintessential trade secret and confidential business information.
           Moreover, Corellium’s revenues, market share, market forecasts, sales projections,
           financial projections, or profit/loss margins (actual or anticipated) are highly sensitive
           confidential, proprietary, and trade secret information. Furthermore, none of Corellium’s
           business plans, its strategic plans, development and sales plans, and forecasts have anything
           to do with this lawsuit or Apple’s allegation of copyright infringement. The Request is so
           extraordinarily burdensome it appears designed solely to harass and needlessly increase the
           cost of this litigation, in violation of Rules 11(a) and 26(b)(1) of the Federal Rules of Civil
           Procedure. Given the complete lack of relevance of the great majority of the documents
           requested, the attempt to impose any burden on the Corellium to produce these requested
           documents is not “proportional to the needs of the case considering . . . the importance of
           the discovery in resolving the issues, and whether the burden or expense of the proposed
           discovery outweighs its likely benefit.”

           Corellium will produce non-privileged responsive documents relating to the actual
           revenues of Corellium. Corellium also refers Apple to Corellium’s Response to Apple’s
           First Set of Interrogatories, Interrogatory Nos. 9 and 10.

    REQUEST FOR PRODUCTION NO. 54: All marketing, sales, and/or promotional Documents
    and materials relating to the Corellium Apple Product or iOS virtualization technology, including
    without limitation webpages, promotional videos, press releases, brochures, conference
    presentations, conference posters, trade show materials, and all drafts thereof.

           RESPONSE: Corellium will produce all non-privileged, responsive documents to this
           request.

    REQUEST FOR PRODUCTION NO. 55: All Documents concerning efforts by Corellium or
    those acting on behalf of Corellium, to sell, license, promote, market, distribute, or otherwise
    exploit (commercially or otherwise) the Corellium Apple Product or iOS virtualization technology.



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          RESPONSE: Corellium objects to this request to the extent it is vague, overbroad in scope
          and not proportional to the needs of the case. Specifically, the request is vague as it is
          unclear what Apple means by the phrase “otherwise exploit (commercially or other)” and
          as such, Corellium cannot assert further objections. Additionally, “documents concerning
          efforts by Corellium . . . to sell, license, promote, marker, distribute” are not relevant to
          Apple’s claims as framed in the Complaint, or Corellium’s Answer, Affirmative Defenses
          or Counterclaim. In particular, this request seeks documents that contain highly-
          confidential, proprietary information such as financial data of customers and Corellium’s
          financial projects, which are not within the scope of any claims asserted in this lawsuit. See
          Corellium’s Amended Answers to Interrogatories Nos. 9 and 10 for relevant financial and
          customer data. Furthermore, the request is overbroad as it is not tailored to a particular
          customer or group of customers, but instead, seeks documents generally. Apples failure to
          tailor the request places a tremendous burden on Corellium to identify potentially
          responsive documents relative to the extremely broad categories of “sell,” “license,”
          “promote,” “market, and “distribute.” Accordingly, it is improper for Apple to seek blanket
          document production of such confidential and irrelevant information.

          Corellium will produce documents responsive to this request relating to the sale, licensing,
          promotion, marketing, and distribution of the product.

    REQUEST FOR PRODUCTION NO. 56: All Documents relating to or referring to any
    presentations by Corellium at any conference.

          RESPONSE: Corellium will produce all non-privileged, responsive documents to this
          request.

    REQUEST FOR PRODUCTION NO. 57: All Documents relating to or referring to Corellium’s
    presentation or other activity at the 2018 Tencent Security Conference.

          RESPONSE: Corellium objects to this request as it seeks production of confidential and
          proprietary information beyond the scope of this litigation. In particular, this request, as it
          relates to “other activity” at the 2018 Tencent Security Conference, seeks documents that
          contain highly-confidential, proprietary information such as financial projections, which
          are not within the scope of any claims asserted in this lawsuit. Furthermore, the request is
          not tailored to a particular client, individual, or company in attendance of the conference,
          but rather, seeks documents generally. Accordingly, it is improper for Apple to seek
          blanket document production to such confidential information.

          Corellium will produce all non-privileged, responsive documents relating to or referring to
          Corellium’s presentation at the 2018 Tencent Security Conference.

    REQUEST FOR PRODUCTION NO. 58: All Documents relating to or referring to Corellium’s
    presentation or other activity at the 2018 Black Hat USA Conference.

          RESPONSE: Corellium objects to this request as it seeks production of confidential and
          proprietary information beyond the scope of this litigation. In particular, this request, as it
          relates to “other activity” at the 2018 Black Hat USA Conference, seeks documents that
          contain highly-confidential, proprietary information such as financial projections, which
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           are not within the scope of any claims asserted in this lawsuit. Furthermore, the request is
           not tailored to a particular client, individual, or company in attendance of the conference,
           but rather, seeks documents generally. Accordingly, it is improper for Apple to seek
           blanket document production to such confidential information.

           Corellium will produce all non-privileged, responsive documents relating to or referring to
           Corellium’s presentation at the 2018 Black Hat USA Conference.

    REQUEST FOR PRODUCTION NO. 59: All Documents relating to or referring to Corellium’s
    presentation or other activity at the 2019 Black Hat USA Conference.

           RESPONSE: Corellium objects to this request as it seeks production of confidential and
           proprietary information beyond the scope of this litigation. In particular, this request, as it
           relates to “other activity” at the 2019 Black Hat USA Conference, seeks documents that
           contain highly-confidential, proprietary information such as financial projections, which
           are not within the scope of any claims asserted in this lawsuit. Furthermore, the request is
           not tailored to a particular client, individual, or company in attendance of the conference,
           but rather, seeks documents generally. Accordingly, it is improper for Apple to seek
           blanket document production to such confidential information.

           Corellium will produce all non-privileged, responsive documents relating to or referring to
           Corellium’s presentation at the 2019 Black Hat USA Conference.

    REQUEST FOR PRODUCTION NO. 60: All disclosures, including without limitation
    presentations, Corellium has made or given to third parties about its products or technology.

           RESPONSE: Corellium objects to this request in that it is overboard in both time and
           scope with respect to any claims asserted in this lawsuit as well as it as it seeks production
           of confidential and proprietary information beyond the scope of this litigation. In particular,
           this request seeks documents, such as disclosures, that contain highly-confidential,
           proprietary information including financial and market projections, which are not within
           the scope of any claims asserted in this lawsuit. Furthermore, the request is not tailored to
           a particular client, individual, or other third-party, but rather, seeks documents generally.
           Accordingly, it is improper for Apple to seek blanket document production to such
           confidential information.

           Corellium will produce non-privileged documents responsive to this request and relating
           to the Corellium Apple Product, including presentations made by Corellium. In addition,
           Corellium refers Apple to Corellium’s Answers to Apple’s First Set of Interrogatories,
           Interrogatory No. 12.

    REQUEST FOR PRODUCTION NO. 61: All analyses of the Corellium Apple Product relative
    to any other product.

           RESPONSE: Corellium objects to this request in that it is overboard in both time and
           scope with respect to any claims asserted in this lawsuit as well as it as it seeks production
           of confidential and proprietary information beyond the scope of this litigation. In particular,
           this request seeks documents that contain highly-confidential, proprietary information such

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          as financial projections, which are not within the scope of any claims asserted in this
          lawsuit. See Corellium’s Amended Answers to Interrogatories Nos. 9 and 10 for relevant
          financial data. Moreover, this request seeks documents that contain highly-confidential,
          proprietary information such as Corellium’s core technology, which has no direct
          connection with iOS, uses no Apple code, and does not contain any works that Apple is
          asserting copyrights to in this Action, all of which are not within the scope of any claims
          asserted in this lawsuit. The product is akin to an operating system of a computer, where
          an application is loaded by the operating system, adjusted to interoperate with OS
          components, and exposed to the user in this final form. Seeking highly proprietary
          information about Corellium’s core technology, when it has not connection to iOS is
          improper and an abuse of discovery. Furthermore, the request is not tailored to a particular
          analyses or product, but rather, seeks documents generally. As such, the request places a
          tremendous burden on Corellium to identify potentially responsive documents relative to
          the extremely broad category of “analyses.” Accordingly, it is improper for Apple to seek
          blanket document production to such confidential information.

          For the same reasons, Corellium also objects to this response in that it is intended to annoy
          or harass Corellium and its officers, employees, agents, representatives, and other persons
          acting, or purporting to act on behalf of Corellium.

          Without more specificity, Corellium will not produce documents in response to this
          Request.

    REQUEST FOR PRODUCTION NO. 62: All Documents prepared for, given to, or provided
    to customers or potential customers of the Corellium Apple Product.

          RESPONSE: Corellium objects to this request as it seeks production of confidential and
          proprietary information as well as trade secrets beyond the scope of this litigation. In
          particular, this request seeks documents that contain highly-confidential, proprietary
          information such as financial data of customers and Corellium’s financial projects, which
          are not within the scope of any claims asserted in this lawsuit. See Corellium’s Amended
          Answers to Interrogatories No. 9 for relevant customer and financial data. Furthermore, the
          request is overbroad as it is not tailored to a particular customer or group of customers, but
          instead, seeks documents generally. Apples failure to tailor the request places a tremendous
          burden on Corellium to identify potentially responsive documents relative to the extremely
          broad category of “customers” and “potential customers.” Accordingly, it is improper for
          Apple to seek blanket document production of such confidential information.

          Corellium will produce all non-privileged, responsive documents relative to customers and
          potential customers.

    REQUEST FOR PRODUCTION NO. 63: All Documents given, provided, or shown to
    investors or potential investors in Corellium.

          RESPONSE: Corellium objects to this request in that it is overboard in both time and
          scope with respect to any claims asserted in this lawsuit as well as it as it seeks production
          of confidential and proprietary information as well as trade secrets beyond the scope of this

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           litigation. In particular, this request seeks documents that contain highly-confidential,
           proprietary information such as financial information of the investors or potential investors
           as well as Corellium’s financial projections and calculations, which are not within the
           scope of any claims asserted in this lawsuit. See Corellium’s Amended Answers to
           Interrogatories Nos. 9 and 10 for relevant financial data. Furthermore, the request is not
           tailored to a particular investor or potential investor, but rather, seeks documents generally.
           As such, the request places a tremendous burden on Corellium to identify potentially
           responsive documents relative to the extremely broad category of “investors.”
           Accordingly, it is improper for Apple to seek blanket document production to such
           confidential information. For the same reasons, Corellium also objects to this response in
           that it is intended to annoy or harass Corellium and its officers, employees, agents,
           representatives, and other persons acting, or purporting to act on behalf of Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 64: All Documents comparing or contrasting the
    Corellium Apple Product with any Apple technology, product, or service, including without
    limitation any competitive analysis or any comparison of any structure, function, operation,
    advantage, disadvantage, or capabilities.

           RESPONSE: Corellium objects to this request as it seeks production of confidential and
           proprietary information as well as trade secrets beyond the scope of this litigation. In
           particular, this request seeks documents that contain highly-confidential, proprietary
           information such as Corellium’s core technology, which has no direct connection with iOS,
           uses no Apple code, and does not contain any works that Apple is asserting copyrights to
           in this Action, all of which are not within the scope of any claims asserted in this lawsuit.
           The product is akin to an operating system of a computer, where an application is loaded
           by the operating system, adjusted to interoperate with OS components, and exposed to the
           user in this final form. Seeking highly proprietary information about Corellium’s core
           technology, when it has not connection to iOS is improper and an abuse of discovery.
           Furthermore, the request is overbroad as it is not tailored to any particular “Apple
           technology,” “product,” or service,” but instead, seeks documents generally. Apple’s
           failure to tailor the request places a tremendous burden on Corellium to identify potentially
           responsive documents relative to the extremely broad categories of Apple technology,”
           “product,” or service.” Accordingly, it is improper for Apple to seek blanket document
           production of such confidential information. Corellium will not produce documents in
           response to this Request.

    REQUEST FOR PRODUCTION NO. 65: All Documents relating to, describing, or concerning
    this Action, Apple, Apple’s copyrights, or Apple’s intellectual property.

           RESPONSE: Corellium objects to this request in that it is overboard in scope with respect
           to any claims asserted in this lawsuit as it seeks irrelevant information. In particular, this
           request seeks documents that relate to Apple, Apple’s copyrights, and Apple’s intellectual
           property, generally. Importantly, this lawsuit does not involve Apple’s copyrights and
           Apple’s intellectual property in a general sense, but instead, involves specific Apple
           copyrights and specific Apple intellectual property. Indeed, Apple is not entitled to go a

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           fishing expedition into every aspect of Corellium’s business by virtue of its lawsuit.
           Accordingly, it is improper for Apple to seek blanket document product to irrelevant
           information that does not relate to any claim in this lawsuit.

           Corellium further objects to this request on the basis that it seeks information that is subject
           to the attorney-client privilege and/or work product protection. Specifically, Apple is
           prohibited from obtaining Corellium’s counsel’s client communications or mental
           impressions concerning its strategy in this litigation. For example, this request seeks
           documents pertaining to this Action, which is protected by attorney-client privilege.
           Accordingly, Apples request is improper.

           Corellium will produce documents relating to, describing, or concerning Apple, Apple’s
           copyrights, or Apple’s intellectual property as they relate to the Corellium Apple Product
           in this litigation.

    REQUEST FOR PRODUCTION NO. 66: All Documents concerning, evidencing, referring to,
    or relating to any bugs, exploits, vulnerabilities, or other software flaws reported to Apple as a
    result of use of the Corellium Apple Product.

           RESPONSE: Corellium refers Apple to Corellium’s Answer, Affirmative Defenses, and
           Counterclaims [ECF Nos. 41, 42]. Corellium will produce all non-privileged, responsive
           documents to this Request.

    REQUEST FOR PRODUCTION NO. 67: All Documents concerning, evidencing, referring to,
    or relating to any bugs, exploits, vulnerabilities, or other software flaws in iOS of which Corellium
    or its employees currently are, or have ever been, aware.

           RESPONSE: Corellium objects to this request in that it is overboard in scope with respect
           to any claims asserted in this lawsuit as it seeks irrelevant information. In particular, this
           request seeks documents that relate to bugs, vulnerabilities, and other software flaws in
           iOS that Corellium or its employees are aware of. Importantly, this lawsuit does not involve
           software flaws in iOS generally, but instead, involves specific copyright issues relative to
           the Corellium Apple Product. Therefore, a request that seeks Corellium or its employee’s
           knowledge of software flaws in iOS, generally, without any attempt to tailor the request to
           claims in this lawsuit is improper. Indeed, Apple is not entitled to go a fishing expedition
           into every aspect of Corellium’s business by virtue of its lawsuit. Accordingly, it is
           improper for Apple to seek blanket document product to irrelevant information that does
           not relate to any claim in this lawsuit.

           Moreover, Corellium objects to this request as it is seeking information that Corellium
           could otherwise sell to Apple. Additionally, Apple is seeking this information for free,
           despite the fact that it has no connection to the lawsuit. Corellium’s Counterclaim is only
           about bugs that have already been submitted to Apple but whereby Corellium has not been
           compensated for them. Those bugs, by definition, are already in Apple’s possession. This
           request is simply another example of Apple using the legal system to restrain trade or
           otherwise suppress or harm competitive industry and those working within it.



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           Corellium will produce the bugs, exploits, vulnerabilities, or other software flaws in iOS
           that have been previously submitted to Apple.

    REQUEST FOR PRODUCTION NO. 68: All Documents concerning, referring to, or relating
    to any activities undertaken by Corellium as a result of this Action.

           RESPONSE: Corellium further objects to this request on the basis that it seeks
           information that is subject to the attorney-client privilege and/or work product protection.
           Specifically, Apple is prohibited from obtaining Corellium’s counsel’s client
           communications or mental impressions concerning its strategy in this litigation. For
           example, this request seeks documents pertaining to Corellium’s actions in anticipation of
           any copyright litigation, which is protected by attorney-client privilege. Accordingly,
           Apples request is improper. Moreover, Apple is not entitled to go a fishing expedition into
           every aspect of Corellium’s business by virtue of its lawsuit. Accordingly, it is improper
           for Apple to seek blanket document production of such privileged information.

           Corellium will produce non-privileged, responsive documents concerning, referring to, or
           relating to any activities undertaken by Corellium as a result of this Action.

    REQUEST FOR PRODUCTION NO. 69: All Documents relating to each instance where a
    customer has asked You to replicate any aspect, functionality, method, or process of an Apple
    product.

           RESPONSE: Corellium objects to this request to the extent it is overbroad in time and
           scope, harassing and not proportional to the needs of the case. Specifically, this request
           seeks information and communications between Corellium and its customers which is
           overbroad and not proportional to the needs of this case. Indeed, the allegations in this
           lawsuit concern copyright infringement not Corellium’s communications with its
           customers regarding every minute inquiry. The request is so extraordinarily overbroad and
           burdensome it appears designed solely to harass and needlessly increase the cost of this
           litigation. Given the complete lack of relevance of the documents requested, the attempt to
           impose any burden on the Corellium to produce these requested documents is not
           “proportional to the needs of the case considering . . . the importance of the discovery in
           resolving the issues, and whether the burden or expense of the proposed discovery
           outweighs its likely benefit.”

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 70: All Documents relating to or comprising
    Communications between Corellium and any investor, potential investor, customer, potential
    customer, or third party regarding Apple, iOS, this Action, or the anticipation of any copyright
    litigation.

           RESPONSE: Corellium objects to this request in that it is disproportional to the needs of
           the case as well as it as it seeks production of confidential and proprietary information
           beyond the scope of this litigation. In particular, this request seeks documents that contain
           highly-confidential, proprietary information such as financial information of the investors
           or potential investors as well as Corellium’s financial projections and calculations, which
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           are not within the scope of any claims asserted in this lawsuit. Furthermore, the request is
           not tailored to a particular investor, customer, or copyright but rather, seeks documents
           generally. As such, the request places a tremendous burden on Corellium to identify
           responsive documents relative to the extremely broad categories of “investors,”
           “customers” and “Apple.” Accordingly, it is improper for Apple to seek blanket document
           production to such confidential information.

           Corellium further objects to this request on the basis that it seeks information that is subject
           to the attorney-client privilege and/or work product protection. Specifically, Apple is
           prohibited from obtaining Corellium’s counsel’s client communications or mental
           impressions concerning its strategy in this litigation. For example, this request seeks
           documents pertaining to Corellium’s actions in anticipation of any copyright litigation,
           which is protected by attorney-client privilege. Accordingly, Apples request is improper.

           Corellium additionally objects to this request in that it is overboard in scope with respect
           to any claims asserted in this lawsuit as it seeks irrelevant information that is
           disproportional to the needs of the case. In particular, this request seeks documents that
           relate to investors, customers, Apple, copyright litigation, etc., which are outside the scope
           of this litigation. For example, Corellium’s action in anticipation of any copyright litigation
           has no bearing or relevancy on the instant litigation. Accordingly, as this request seeks
           irrelevant information beyond the scope of the litigation, it is improper.

           For the same reasons, Corellium also objects to this response in that it is intended to annoy
           or harass Corellium and its officers, employees, agents, representatives, and other persons
           acting, or purporting to act on behalf of Corellium.

           Corellium will any documents or communications relating to Apple as an investor,
           potential investor, customer, potential customer, or third party, but will not produce other
           documents for the reasons stated above.

    REQUEST FOR PRODUCTION NO. 71: All Documents comprising or relating to any
    compliments, complaints, expressions of concern, satisfaction, or dissatisfaction by purchasers,
    users, potential or actual customers, industry associations or organizations, or government agencies
    concerning the Corellium Apple Product, including but not limited to any comparisons or contrasts
    with Apple’s products or services.

           RESPONSE: Corellium objects to this request in that it is overboard in scope with respect
           to any claims asserted in this lawsuit as it seeks irrelevant information. In particular, this
           request seeks documents that relate to opinions of investors, customers, government
           agencies, generally, which are outside the scope of this litigation. For example, the
           satisfaction of a government agency with respect to the Corellium Apple Product has no
           bearing on whether Apple’s copyright was infringed, or any of the other claims in the
           lawsuit. Accordingly, as this request seeks irrelevant information beyond the scope of the
           litigation, it is improper. Furthermore, the request is not tailored to a particular investor,
           customer, government agency, but rather, seeks documents generally. As such, the request
           places a tremendous burden on Corellium to identify potentially responsive documents
           relative to the extremely broad categories of “investors,” “customers” and “government

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           agencies.” Accordingly, it is improper for Apple to seek blanket document production to
           such confidential information

           For the same reasons, Corellium also objects to this response in that it is intended to annoy
           or harass Corellium and its officers, employees, agents, representatives, and other persons
           acting, or purporting to act on behalf of Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 72: All Documents                        relating to     Communications,
    including all Communications, between Corellium and Apple.

           RESPONSE: Corellium will produce all non-privileged, responsive communications
           relating to communications between Corellium and Apple.

    REQUEST FOR PRODUCTION NO. 73: All Documents relating to any oral and/or written
    statement that Corellium’s users and/or customers were, are, or may or may not be infringing
    Apple’s copyrighted works.

           RESPONSE: Corellium objects to this request as it seeks production of confidential and
           proprietary information as well as trade secrets beyond the scope of this litigation. In
           particular, this request seeks documents that contain highly-confidential, proprietary
           information such as the opinions of Corellium users and/or customers, which have no
           bearing on whether Apple’s copyrights were infringed, or any other claims involved in this
           lawsuit. Furthermore, the request is overbroad as it is not tailored to a particular
           customer/user or group of customers/users, but instead, seeks documents generally.
           Apple’s failure to tailor the request places a tremendous burden on Corellium to identify
           potentially responsive documents relative to the extremely broad category of “customers”
           and “users” Accordingly, it is improper for Apple to seek blanket document production of
           such confidential information.

           Corellium further objects to this request on the basis that it seeks information that is subject
           to the attorney-client privilege and/or work product protection. Specifically, Apple is
           prohibited from obtaining Corellium’s counsel’s client communications or mental
           impressions concerning its strategy in this litigation. For example, this request seeks
           documents concerning whether Corellium infringed any copyrights, which would include
           Corellium’s actions in anticipation of any copyright litigation, which are protected by
           attorney-client privilege. Accordingly, Apples request is improper.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 74: Documents sufficient to show the time and
    circumstances under which Corellium first became aware of Apple’s copyrights.

           RESPONSE: Corellium objects to this request on the basis that it seeks information that
           is subject to the attorney-client privilege and/or work product protection. Specifically,
           Apple is prohibited from obtaining Corellium’s counsel’s client communications or mental
           impressions concerning its strategy in this litigation. For example, this request seeks

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           documents pertaining to when Corellium first became aware of Apple’s copyrights, which
           would include conversations between Corellium and its Counsel in preparation for this
           litigation, which are protected by attorney-client privilege.

           Corellium will produce non-privileged, responsive documents to this Request.

    REQUEST FOR PRODUCTION NO. 75: Documents sufficient to Identify any Person
    involved in developing, producing, selling, installing, testing, or troubleshooting the Corellium
    Apple Product.

           RESPONSE: Corellium objects to this request as it is as it is harassing, immaterial,
           irrelevant, not proportional to the needs of this case. In particular, this request seeks
           documents that contain highly-confidential, proprietary information such as the names of
           persons involved in troubleshooting the Corellium Apple Product, which have no bearing
           on whether Apple’s copyrights were infringed, or any other claims involved in this lawsuit.
           Furthermore, the request is overbroad as it is not tailored to a particular group of persons,
           but instead, seeks documents generally to identify persons, which could encompass every
           person Corellium has ever interacted with, which is obviously beyond so scope of this
           lawsuit. Apple’s failure to tailor the request places a tremendous burden on Corellium to
           identify potentially responsive documents relative to the extremely broad categories of
           persons involved with “developing,” “producing,” “selling,” “installing,” “testing,” and
           “troubleshooting.” Accordingly, it is improper for Apple to seek blanket document
           production of such confidential and irrelevant information.

           Corellium refers Apple to Corellium’s Response to Apple’s First Set of Interrogatories,
           Interrogatory Nos. 9 and 10 as well as Corellium’s Initial Disclosures. Additionally,
           Corellium will produce a list of all Corellium’s officers and employees. Corellium believes
           that the information already provided to Apple, coupled with the list of officers and
           employees satisfies all relevant, non-privileged, responsive information sought by this
           request.

    REQUEST FOR PRODUCTION NO. 76: Documents sufficient to Identify Corellium’s
    directors and officers.

           RESPONSE: Corellium refers Apple to Corellium’s Rule 26 Initial Disclosures.
           Additionally, Corellium will produce a list of all Corellium’s officers and employees.
           Corellium believes that the information already provided to Apple, coupled with the list of
           officers and employees satisfies all relevant, non-privileged, responsive information sought
           by this request.

    REQUEST FOR PRODUCTION NO. 77: Corellium’s personnel rosters and organizational
    charts.

           RESPONSE: Corellium objects to this request to the extent that it seeks production of
           organizational charts, which are irrelevant and not proportional to the needs of this case.
           Specifically, organizational charts have no bearing on the alleged copyright infringement
           or any other claims in this lawsuit. Moreover, Apple is not entitled to go a fishing
           expedition into every aspect of Corellium’s business by virtue of its lawsuit. Indeed, who
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           Corellium’s personnel have not subjected themselves to an interrogation or investigation
           by Apple by virtue of their employment with Corellium. Accordingly, Corellium will not
           produce its organizational charts.

           Corellium will produce it personnel rosters.

    REQUEST FOR PRODUCTION NO. 78: Documents sufficient to show the forms of any
    confidentiality agreements signed by Corellium employees.

           RESPONSE: Corellium objects to this request as it is as it is vague, harassing, immaterial,
           irrelevant, not proportional to the needs of this case. Specifically, Apple is not entitled to
           go a fishing expedition into every aspect of Corellium’s business by virtue of its lawsuit.
           Indeed, whether Corellium’s employees have signed a confidentiality agreement is not
           relevant to establishing any element of Apple’s copyrights infringement claims against
           Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 79: All Documents, including reports, minutes,
    presentations, and/or memoranda generated for, or as a result of, any Corellium business strategy
    meetings, conferences, or determinations.

           RESPONSE: Corellium objects to this request as it is overbroad harassing, immaterial,
           irrelevant, and not proportional to the needs of this case. Specifically, Apple is not entitled
           to go a fishing expedition into every aspect of Corellium’s business by virtue of its lawsuit.
           Indeed, documents reflecting Corellium’s minutes, presentations, reports and/or
           memoranda generated for business strategy meetings and conferences are quintessential
           trade secret and confidential business information which is unrelated to Apple’s claims in
           its Complaint. Moreover, this request goes to no element of Apple’s claims against
           Corellium. The request is so extraordinarily overbroad it appears designed solely to harass
           and needlessly increase the cost of this litigation, in violation of Rules 11(a) and 26(b)(1)
           of the Federal Rules of Civil Procedure. Given the complete lack of relevance of the great
           majority of the documents requested, the attempt to impose any burden on the Corellium
           to produce these requested documents is not “proportional to the needs of the case
           considering . . . the importance of the discovery in resolving the issues, and whether the
           burden or expense of the proposed discovery outweighs its likely benefit.”

           Corellium will produce reports, minutes, presentations, and/or memoranda in response to
           this Request relating to the virtualization of iOS.

    REQUEST FOR PRODUCTION NO. 80: All Documents relating to any offers to acquire
    Corellium or negotiations regarding any potential acquisition.

           RESPONSE: Corellium objects to this request as it is overboard, harassing, and not
           proportional to the needs of this case. Initially, this request is overbroad, irrelevant, and
           not proportional to the needs of the case as it is unrelated to the claims and issues raised in
           the Complaint against Corellium. Indeed, if a third-party company offered to acquire


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           Corellium that is entirely irrelevant and goes to no element of Apple’s copyright
           infringement claim.

           Corellium refers Apple to Corellium’s Response to Apple’s First Set of Interrogatories,
           Interrogatory No. 17. Corellium will not produce documents in response to this request
           beyond the information contained in Corellium’s Response to Apple’s First Set of
           Interrogatories, Interrogatory No. 17.

    REQUEST FOR PRODUCTION NO. 81: All Documents relating to grants Corellium has
    applied for or received.

           RESPONSE: Corellium objects to this request as it is overboard, harassing, and not
           proportional to the needs of this case. This request is overbroad, irrelevant, and not
           proportional to the needs of the case as it is unrelated to the claims and issues raised in the
           Complaint against Corellium. Indeed, whether Corellium has applied for or received any
           grants has no bearing on whether Apple’s copyright was infringed or any of the claims in
           this lawsuit.

           For the same reasons, Corellium also objects to this response in that it is intended to annoy
           or harass Corellium and its officers, employees, agents, representatives, and other persons
           acting, or purporting to act on behalf of Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 82: Documents sufficient to show the forms of any
    confidentiality agreements signed by Corellium customers or users.

           RESPONSE: Corellium objects to this request as it is as it is harassing, immaterial,
           irrelevant, not proportional to the needs of this case. Specifically, Apple is not entitled to
           go a fishing expedition into every aspect of Corellium’s business by virtue of its lawsuit.
           Indeed, whether Corellium’s customers have signed a confidentiality agreement is not
           relevant to establishing any element of Apple’s copyrights infringement claims against
           Corellium.

           Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 83: Documents sufficient to show any limits imposed,
    or attempted to be imposed, by Corellium on access to, or control of, the distribution of its business
    information.

           RESPONSE: Corellium objects to this request as it is overboard, vague, and not
           proportional to the needs of this case. Initially, this request is overbroad and not
           proportional to the needs of the case as it is unrelated to the claims and issues raised in the
           Complaint against Corellium. Moreover, the request is vague as it is unclear what Apple
           means by the phrase “distribution of its business information.” Moreover, Corellium
           objects to this request to the extent it seeks disclosure of proprietary, confidential, and/or
           trade secret information relating to Corellium’s technology or business and product. In
           particular, this request seeks documents that contain highly-confidential, proprietary

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          information such as distribution policies, which has no direct connection with iOS, uses no
          Apple code, and does not contain any works that Apple is asserting copyrights to in this
          Action, all of which are not within the scope of any claims asserted in this lawsuit.
          Accordingly, it is improper for Apple to seek blanket document production of such
          confidential information.

          Corellium will not produce documents in response to this Request.

    REQUEST FOR PRODUCTION NO. 84: All Documents referring or relating to any
    Document preservation and/or Document destruction policies or activities.

          RESPONSE: Corellium objects to the extent this request seeks documents protected by
          the attorney-client privilege and work-product protection doctrines. Specifically, Apple is
          prohibited from obtaining Corellium’s counsel’s client communications or mental
          impressions concerning its strategy in this litigation. For example, this request seeks
          documents relative to document preservation, which would include documents relative to
          litigation holds, which are undoubtably protected by work-product privilege.

          Corellium will produce all non-privileged, responsive documents to this Request.

    REQUEST FOR PRODUCTION NO. 85: All Documents on which You intend to rely at any
    hearing or at trial in this Action.

           RESPONSE: Corellium objects to this request on the basis that it seeks information that
          is subject to the attorney-client privilege and/or work product protection. Specifically,
          Apple is prohibited from obtaining Corellium’s counsel’s client communications or mental
          impressions concerning its strategy in this litigation. For example, this request seeks
          documents pertaining to when Corellium first became aware of Apple’s copyrights, which
          would include conversations between Corellium and its Counsel in preparation for this
          litigation, which are protected by attorney-client privilege.

          RESPONSE: Corellium will produce all non-privileged, responsive documents which
          Corellium intends to rely at any hearing or at trial in this Action. However, as discovery is
          ongoing, Corellium expressly reserves the right to amend this response at a later time.

    REQUEST FOR PRODUCTION NO. 86: All Documents relating to Corellium’s affirmative
    defenses, if any, asserted in this Action.

          RESPONSE: Corellium objects to this request on the basis that it seeks information that
          is subject to the attorney-client privilege and/or work product protection. Specifically,
          Apple is prohibited from obtaining Corellium’s counsel’s client communications or mental
          impressions concerning its strategy in this litigation. For example, this request seeks
          documents Corellium relative to Corellium’s affirmative defenses, which would include
          documents with attorney’s notes, which are undoubtably protected by work-product.

          RESPONSE: Corellium will produce all non-privileged, responsive documents relating
          to Corellium’s affirmative defenses asserted in this Action. However, as discovery is
          ongoing, Corellium expressly reserves the right to amend this response at a later time.

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    REQUEST FOR PRODUCTION NO. 87: All Documents produced by any third party in
    response to any subpoena You serve in this Action.

          RESPONSE: At this time, there are no documents responsive to this request. However,
          as discovery is ongoing, Corellium expressly reserves the right to amend this response at a
          later time.




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